                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                 3:14-CR-00017-RJC
USA                                              )
                                                 )
   v.                                            )                  ORDER
                                                 )
OLWIN BROWN                                      )
                                                 )

        THIS MATTER is before the Court upon a bond violation report filed by the United

States Pretrial Services Office seeking revocation of the defendant’s pretrial release. (Doc. No.

470).

        A judicial officer shall enter an order of revocation and detention based on probable

cause to believe that the defendant has violated the law while on release or based on clear and

convincing evidence of a violation of any other condition and, based on the factors in 18 U.S.C.

§ 3142(g), a finding that no condition or combination of conditions of release will assure the

person will not flee or pose a danger to the community or the person is unlikely to abide by any

condition or combination of conditions of release. 18 U.S.C. §3148(b)(1). A rebuttable

presumption in favor of detention arises when there is probable cause to believe the defendant

committed a criminal offense while on release. Id.

        After a hearing, the Court found probable cause that the defendant committed bank fraud

on August 12, 2014, just eight days after he was allowed to remain on release after a previous

revocation hearing. The Court further found that no condition or combination of conditions

would assure the safety of the community and that the defendant was unlikely to abide by any

condition or combination of conditions of release.




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       IT IS, THEREFORE, ORDERED that the magistrate judge’s release order (Doc. No.

132) is REVOKED and the defendant is committed to the custody of the Attorney General.

       IT IS FURTHER ORDERED that, to the extent practicable, the defendant shall be

confined in a corrections facility separate from persons awaiting or serving sentences or being

held in custody pending appeal. The defendant shall be afforded reasonable opportunity for

private consultation with counsel. On order of a court of the United States or on request of an

attorney for the government, the person in charge of the corrections facility in which the

defendant is confined shall deliver the defendant to a United States marshal for the purpose of an

appearance with a court proceeding.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.

                                                Signed: November 13, 2014




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